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~ Case 5:19-cv-00223-JPB-JPM Document 26-2 Filed 02/21/20 Page1of12 PagelD #: 133

——

PAID UP OIL AND GAS LEASE

THIS AGREEMENT made and entered into this the 1 1 day of Noverbe 2010 by and between
Goshorn Ridge LLC, 112 Algonquin Trace, Wheeling, West Virginia, 26003, hereinafter called Lessor (whether one or more), and

 

TRANS ENERGY, INC., P.O. BOX 393, ST. MARYS, WEST VIRGINIA 26170 (50%)
AND REPUBLIC ENERGY VENTURES, LLC, 4925 GREENVILLE AVENUE, SUITE 1050,
DALLAS, TEXAS 75206 (50%),

AND THEIR SUCCESSORS OR ASSIGNS, HEREINAFTER COLLECTIVELY CALLED LESSEE.

WITNESSETH, that the said Lessor, in consideration of the sum of ONE DOLLAR ($1.00), the receipt of which is
hereby acknowledged, and of the covenants hereinafter contained on the part of the said Lessee, to be paid, kept and performed, has
granted, demised, leased and let exclusively unto Lessee, for the purpose and with the rights of exploring by geophysical and other
methods, drilling, producing and otherwise operating for oil and gas from the Marcellus Shale and shallower geological zones not
including coalbed methane, and of laying pipe lines and building tanks, roads, stations, electric power lines, houses for valves, meters,
regulators and other appliances with all other rights and privileges necessary, incident to or convenient for the operation of this land
all that certain tract of land situate in the Districts of Cameron and Liberty, County of Marshall, State of WEST VIRGINIA, and bounded
substantially as follows:

On the North by: Karen Evans & Judy Matthews
On the East by: Samantha G. Morris
On the South by: Louise T. Wayt Est.

~ On the West by: James T. Hibbs

Containing 937 acres of land, whether actually containing more or less and described in that certain deed recorded in Deed Book 270,
Page 181, in the Office of the Clerk of the County Commission of Marshall County, West Virginia.

1. Lessee agrees to drill and complete two or more horizontal wells to and into the Marcellus Shale by December 31, 2011. If two
wells are not drilled and completed by this time then this lease will become null and void.

2. Lessee covenants and agrees to deliver to the credit of Lessor, its heirs or assigns, a royalty of twenty percent (20%) market
value of oil (in barrels) and gas (as defined in dekatherms ((1,000 btu per mcf)) both as measured at the wellhead and other
hydrocarbon substances produced and saved from the leased premises and paid by third parties. Such payments shall be made within
60 days of the production month or 10 business days of receipt by Lessee whichever is earlier. The royaity paid hereunder shall be
based on gross proceeds received by Lessee without deduction for expenses incurred by Lessee, including but not limited to expenses
to produce, separate, compress, or transport produced volumes to the point of sale. The first royalty payment for each well shall be
paid within 120 days from the first day of actual production of oil or gas. Royalty reports shall comply with the minimum standard as
required by the State of Texas and shall include items 1-12 on the attached Exhibit “A”.

3. All payments under this lease shall be made by check and mailed to the Lessor, until the Lessee shall have written notice from
the Lessor, its heirs or assigns, accompanied by original or certified copies of deeds or other documents as Lessee may require
evidencing such change of ownership directing payments to be made otherwise and any payments made as above until such direction,
and thereafter in accordance with such direction shall absolve the Lessee from any liability to any heir or assign of the Lessor. All
payments or royalty are to be made according to Lessor’s respective interest therein, as hereafter set forth, and this lease shall not be
forfeited for Lessce’s failure to pay any rentals or royalties until Lessee receives written notice by registered mail of such default and
shall fail for a period of thirty (30) days after receipt of such notice to pay same.

4. To its best knowledge and belief, Lessor believes it has good title to the leased premises. Lessor further covenants and agrees,
that if Lessor’s title to the premises shall come into dispute or litigation, or if in the judgment of Lessee, there are a bona fide adverse
claims to the rentals or royalties hereinabove provided for, then Lessee, at its option, may withhold future payment of said rentals or
royalties and place them in an interest bearing escrow account until final adjudication or other settlement of such dispute, litigation,
claim or claims. Any prior amounts received by Lessor shall not be subject to repayment to Lessee.

5. If and when drilling or other operations hereunder are delayed or interrupted by a force majeure, as hereinafter defined, the
time of such delay or interruption shall not be counted against Lessee, anything in this lease to the contrary notwithstanding. All
express or implied covenants of this lease shall be subject to all Federal and State laws, Executive Orders, Rule and Regulations, and
this lease shall not be terminated, in whole or in part, nor Lessee held liable in damages for failure to comply therewith, if compliance
is prevented by, or if such failure is the result of any such Law, Order, Rule or Regulation.

6. Lessee shall have the right at any time during the term of this lease to remove all machinery, fixture, pipe lines, meters, well
equipment, houses, buildings, and other structures which Lessee has placed or caused to be placed on said premises, including the
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right to pull and remove all casing and tubing. Lessee shall restore the surface as near as possible to original grade. Lessee shall give
a minimum of 72 hours written notice to Lessor before removal of machinery and equipment other than in the normal course of
business.

7. Where multiple parties are named as Lessee, each shall jointly and severally be liable for the Lessee’s obligations herein. An
assignment of this lease, in whole or in part, shail, to the extent of such assignment, relieve and discharge Lessee or any individual
constituent party Lessee, of any obligations hereunder arising after such assignment, and, if Lessee or any assignee of part or parts
hereof shall fail to comply with any provision of this lease, such default shall not affect this lease insofar as it covers a part of said
land upon which Lessee or any assignee thereof shall not be in default. Any assignment shall only be made to a third party who has

- sufficient credit worthiness to perform all obligations of Lessee hereunder. Lessee shall provide Lessor with written notice of any

proposed assignment at least 5 business days prior to any assignment.

8. It is agreed that said Lessee shall have the privilege of using free of charge sufficient water to run all machinery for drilling and
operations thereon for all wells on said lease or any leases unitized herewith.

9. No well shall be drilled by Lessee within 200 feet of any dwelling house or barn on said premises, except by consent of Lessor.

10. Lessee shall pay the surface owner for itself and on behalf of Lessor, for all damages to timber, growing crops, fences or trees
caused by Lessee’s operations and shall be based on the current market value in the area for whatever type of crops were disturbed.
Such damage shall be assessed by a representative of Penn State Cooperative Extension Service, USDA/NRCS, or a representative
from the County Farm Bureau. Lessee shall use a quality pasture mix during reseeding and reclamation on any pasture areas affected
by Lessee’s operations. Lessee shall bury all permanent pipelines below plow depth (36 inches minimum, where possible) through
cultivated areas upon request of Lessor or within a reasonable length of time thereafter. Lessee shall restore surface as near as
possible to original grade within 180 days.

11. This instrument may be executed in counterparts each having the same validity as if the original.

12. Lessee is hereby granted, with consent of Lessor, which consent shall not be unreasonably withheld -the right to poo! and
unitize all or any part of the land described above with any other lease or leases, land or lands, mineral estates, or any of them whether
owned by the Lessee or others, so as to create one or more drilling or production units. Such drilling or production units shail not
exceed 640 acres in extent and shall conform to the rules and regulations of any lawful government authority having jurisdiction of the
premises, and with good drilling or production practice in the area in which the land is located. {n the event of the unitization of the
whole or any part of the land covered by this lease, Lessee shall before or after the completion of the well, record a copy of its unit
operation designation in the County wherein the leased premises are located and mail a copy thereof to the Lessor. In order to give
effect to the known limits of the oil and gas pool, as such limits may be determined from available geological or scientific information
on drilling operations. Lessee may at any time increase or decrease the portion of the acreage covered by this lease which is included
in any drilling or production unit, or excludes it altogether, provided that written notice thereof shall be given to Lessor promptly. As
each drilling or production unit designated by the Lessee, the Lessor agrees to accept and shall receive out of the production of the
proceeds from the production from such unit, such proportion of the royalties specified herein, as the number of acres out of the lands
covered by this lease which may be included from time to time in any such unit bears to the total number of acres included in such unit
rather than the full amount of the royalty stated in section 2 above. The commencement, drilling, completion of or producing from a
well on any portion of the unit created under the terms of this paragraph shall have the same effect upon the terms of this lease as ifa
well were commenced, drilled, completed or producing on the land described herein. Each Lessor affected by such Unit shall be
notified in writing prior to spudding of the proposed Unit and after completion of such well shall be notified in writing of the actual
Unit.

13. Ifa well becomes unproductive commercially or if required to do so by the State or Federal regulatory agencies, Lessee shall
plug and abandon any well which it has drilled on the lease premises at Lessee’s cost.

14. Lessee shall be entitled during the term of this lease to lay and maintain pipelines on and across Lessor’s premises to transport,
without any fee payable therefore to Lessor, natural gas,oil and other marketable hydrocarbons produced on the said tract of land.
Lessee shall pay damages, if any, to the surface owner for itself and on behalf of Lessor in the laying of such pipeline(s).

15. Lessee shall attempt to sell at or above market price the production of all wells on such terms and conditions as Lessee, in its
sole discretion may deem appropriate. Such sale shall not be to a related entity of the Lessee. The royalty shall never be less than 95%
of posted Inside FERC gas prices for Northern West Virginia (or any successor publication to Inside FERC prices) at the time the
contract is executed.

16. All the terms conditions, limitations and covenants herein contained shall be binding upon the parties hereto and shall extend
to and be binding upon their respective heirs, successors, personal representatives and assigns, but no representations other than those
herein contained shall be binding on either party.

17. Lessor does not warrant title but to the best of Lessor’s knowledge states that the lease premises are not encumbered by any
enforceable oil and gas lease of record or otherwise. Lessor is not currently receiving any bonus, rental, production royalty or shut-in
royalty as the result of any prior oil and gas lease{s) covering any or all of the subject property.

18. This lease covers all formations and strata from the top of the Rhinestrect formation to the base of the Onandaga Limestone
Formation, including Marcellus formation. The top of the Rinestreet being that Geological Formation or its stratigraphic equivalent at
6,682’ and the Base of the Onandaga Limestone being that Geological Formation or its stratigraphic equivalent at 7,099” as depicted
on the Baker Hughes, Inc. Compensanted Z-Densilog, Compensated Neutron Log, Digital Spectralog, Gamma Ray Log, Caliper Log,
dated January 23, 2010 with the Kelly bushing at 1,518” (elevation) for the Trans Energy, Inc. — Whipkey #2H Well, API #47-051-
1321 in Marshall County, West Virginia. Lessee shall have the right of first refusal to lease all formations above the Rhinestreet and
below the Onondaga Limestone. Lessee agrees to use all wells for the production of oil and gas unless approved by Lessor in writing.
The leased premises shall not be used for the underground storage of hydrocarbon or other substances.

19. Lessee shall test all water wells within 1,000 feet of each well that is drilled. Should a surface owner experience a material
adverse change in the quality of surface owner’s water supply from a water well within 1,000 feet of such well during or within 180
days of completion, Lessee shall within 48 hours of surface owner’s written request, sample and test surface owner’s water supply at
Lessee’s expense. Should such test reflect a material adverse change, Lessee, at Lessee’s expense, agrees to provide surface owner
with potable water for all households, livestock, and farming/agricultural or commercial uses at the time drilling commenced for the
first well on the leased premises until such time as surface owner’s water source has been repaired or replaced with a source of
substantially similar quality and quantity.

20. It is agreed and understood that Lessee shall repair and restore the surface of the leased premises, including any damage to
existing drainage tile as a result of Lessee’s operations, to as close as reasonably practical to the condition in which the leased
premises existed at the time of the commencement of drilling operations. Weather permitting, this work shall be completed within one
hundred twenty (120) days after the cessation of the later of drilling, completing or equipping operations upon the leased premises.

21. No well shall be shut~in unless (a) the shut-in is due to Force Majeure (as hereinafter defined); (b) the shut-in is due to pipeline
or equipment breakage, damage or malfunction; or (c) the shut-in is required because Lessee, in good faith and reasonable diligence,
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has been unable to secure a market for the production from such well. The shut-in status of any well shall persist only for so long as it
is necessary to correct, through the exercise of good faith and due diligence, the condition giving rise to the shut-in of the well. In the
event that there is no production and any well is shut-in for 180 continuous days or 180 days in any calendar year then a shut-in
royalty payment of $25.00 per acre per month for each well shall be paid to Lessor based upon the number of acres held by such well
as defined in paragraph number 26 herein.

22. Lessee agrees to indemnify, protect, save harmless and defend Lessor from and against any loss, claim or expense, including
without limitation claims for injury or death to persons or damage to property including any claims, expense or loss for any
environmental or remediation issues occurring as a result of Lessee’s use of the Leased premises or as a result of loss, expense, injury,
death or damage, which would not have occurred but for Lessee’s use of the Leased premises; except to the extent any such damage or
injury is caused by Lessor’s negligence.

23. Lessee shall pay Lessor a one time payment of $1,250.00 per net mineral acre within 90 days of the date herewith once title has
been cleared by Lessee in its sole discretion by check. At request of Lessor, Lessee will pay the amount due under this paragraph in
such proportions as Lessor may request even if some portion is requested to be paid prior to December 31, 2010. Earnest money in
amount of $35,000.00 will be paid at signing, said amount shall be refunded should title not be approved by Lessee. If title is
approved by Lessee, this amount shall be credited towards amount due to Lessor hereunder.

24. Lessee and Lessor agrees on the following drilling schedule:

 

 

 

 

 

Well Number Month/Year
1,2 Back to back by December 31, 2011*
3 June 30, 2013
4 December 31, 2015
5 December 31, 2016

 

 

 

 

* — Lessee agrees to drill and complete two wells by December 31, 2011. Lessee will drill both
wells back to back. Lessee hopes to drill these wells in the first quarter of 2011 with the Patterson Rig 163
but depending on timing (of signing, permitting, coal issues, pad site building) this might be delayed to the
second or third quarter of 2011.

25. Lessee has the right for a six (6) month extension to drill and complete wells 3 through 5 for a payment of $200,000.00 per well.
By exercising said extension it does not defer the commitment on any other wells.

26. In the event that Lessee does not meet the drilling schedule outlined herein then any prior wells drilled shall hold a 750 foot
radius around the horizontal well bore starting at the point it penetrates the Marcellus formation (heel) and terminating at the end of
the well bore (toe) and the balance of the premises shall revert to the Lessor free of this Lease.

27. Lessor agrees that if Lessee completes the five (5) proposed well commitments then said leased premises shall be held for so
much longer thereafter as oil or gas or other hydrocarbon substances are commercially produced or are capable of being commercially
produced.

28. Force Majeure: This Lease shall not be terminated, in whole or in part, nor shall Lessee be held liable for damages for failure
to comply with express or implied covenants hereof if compliance, therewith, is prevented by or if such failure is the result of any
Federal or State laws, executive orders, rules, or regulations whether valid or invalid, act of God, strike, lockout, or other industrial
disturbance, act of the public enemy, war, blockade, public riot, lightning, fire, storm, flood, or other act of nature, explosion,
government action, government delay, restraints or inaction, whether of the kind specifically enumerated above or otherwise, which is
not reasonably within the control of the party claiming suspension, nor was caused by said party.

IN WITNESS WHEREOF, the parties to this agreement have hereunto set their hands and seals this day and year first above written.

Witness Signature: Lessor Signature:
GOSHORN RIDGE, LLC

an By Z. CL fh ra (Seal)

a
Robert C. Mead Sr. ——
li SA mM . m A Co-Manager of Goshom Ridge LLC

 
 

 

 

YA By Z Lge,
CD ane WPL Charles C.Hart

Co-Manager of Goshorn Ridge, LLC
Case 5:19-cv-00223-JPB-JPM Document 26-2 Filed 02/21/20 Page 4 of12 PagelD #: 136

Lessee Signature:
TRANS ENERGY, INC.

By (Seal)
Its

 

REPUBLIC ENERGY VENTURES, LLC

By (Seal)
its

 

STATE OF WEST VIRGINIA,
COUNTY OF OHIO, TO-WIT:

The foregoing instrument was acknowledged before me this ia day of tnd 201 0, by

Robert C. Meat SC MidngeronSBren Ria fe
» ge NOTARY PUBLIC

STATE OF WEST VIRGINIA

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Notary Public

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SCHRADER, BYRD & OOMPANION, PLLC
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STATE OF
COUNTY OF TO-WIT:
The foregoing instrument was acknowledged before me this il ary of House 2010, by
Charles C. Hart, Co-Manager of Goshom Ridge, LLC. :

fifi“, SUSAN ANN BOBACK Notary Public
‘= Commission DD 653625

Expires April 19, 2014

  

 

 

 

 

 

 

 

 

Bonded Thru Troy Fain Insurance 800-285-7019 My commission expires
STATE OF
COUNTY OF TO-WIT:
The foregoing instrument was acknowledged before me this day of , 2010, by
> on behalf of Trans Energy, Inc., to be the act and deed of said corporation.
Notary Public
My commission expires
STATE OF

 

COUNTY OF » TO-WIiT:

The foregoing instrument was acknowledged before me this day of , 2010, by
on behalf of Republic Energy Ventures, LLC, to be the act and deed of said

 

limited liability company.

 

Notary Public

 

My commission expires
Trans Energy, Inc., reviewed and approved
By:
Its:

 

This document was prepared
By and is to be returned to:

PO Box 383
St Marys, WU 26178
Case 5:19-cv-00223-JPB-JPM Document 26-2 Filed 02/21/20 Page 5of12 PagelD #: 137

Lessee Signature:
TRANS ENERGY, INC.

By Wa dW (Seal)
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REPUBLIC ENERGY VENTURES, LLC

By DSuw1 (Scat) YB

WSO S pLOPIT”

 

STATE OF WEST VIRGINIA,
COUNTY OF OHIO, TO-WIT:

 

 

 

The foregoing instrument was acknowledged before me this dayof 2010, by
Robert C. Mead Sr. Co-Manager of Goshom Ridge LTC.
Notary Public —

My commission expires TT

STATE OF .
_ COUNTY OF . TO-WIT:
The foregoing instrument was acknowledged before me this day of 2010, by
Charles C. Hart. Co-Munuger of Goshom Ridge. LLC.
Notary Public

 

My commission expires

OUNTY OF . TO-WIT:
The foregoing instrument wyas ackgowledged before me this _/ 5% soy of 7 Ls rL7 whee , 2010, by
YNaek Werlbatirr, "and. My on behalf of Trans Energy, Inc., to be the act and decd of said corporation.

 

 

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My commission cxpires

STATE OF “TEXAS. .
COUNTY OF DALLAS . TO-WIT:

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limited liability company. XC
Siitan X pickle,

Le-la—_f/f

My commission expires

Trans Rnergy. Inc., reviewed and approved
By:

ls: a

This document was prepared

By and is to be returned to:

WD trans_

POBox 393
St Marys, WY 26710

 
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MINIMUM ROYALTY REPORTING**
Items to be included on the royalty check stub or an attachment to the royalty payment.

1. Identifying name(s) and number(s) of the lease, Lessors (payees), property, and

API number for each well.

2. The month and year during which the production and sales occurred for which
payment is being made.

3. The total number of barrels, MCF and MMBTU, and gallons of non-crude liquid
hydrocarbons sold.

4. The price per barrel or MCF and MMBTU and per gallon for liquid non-crude oil
hydrocarbons sold.

5. The total amount of state severance, ad valorem, and other production taxes paid.

6. The amount of any other taxes paid on the owners' interests.

7. An itemization of any other deductions or adjustments in terms of both dollars and
quantitative amounts, and a detailed explanation in layman's terms, of each as they
were applied to the Lessors' royalty payment.

8. The gross and net value of sales before and after deductions.
9. The owners' interests, expressed as a decimal, in sales from the lease, property,
and individual wells.

10. The owners' share of the total value of sales before any deductions.

11. The owners’ share of the sales value less deductions.

12. An address and telephone contact number where additional information may be
obtained and questions answered. (If a royalty owner requests information via
certified mail, a response must likewise be made by certified mail within thirty
(30) days of receipt of the request.)

Sample royalty statement to follow.
**Lessee will provide copies of Marketing Agreements and/or Transportation Agreements or

will provide access to them if requested by Lessor. Lessee will provide 24/7 secure web access
to real-time gas flow meter reading.

EXHIBIT “A”

{CLIENT FILES\17515\001\272547:}
 

 

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SCALE I” = 2000’

TRANS ENERGY, INC.

GOSHORN 1H

WELL:
GOSHORN RIDGE LLC 937 ACRE LEASE

LIBERTY DISTRICT. MARSHALL COUNTY WEST VIRGINIA
 

 

 

 

 

 

 

  
   
 
  

 

 

 

 

 

 

 

 

 

 

 

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MINIMUM DEGREE

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OF ELEVATION___GPS
—____OBSERVATION,

 

PROFESSIONAL SURVEYOR: 551

 

 

 

 

___ OCTOBER 27TH, 2010
STATE OF WEST VIRGINIA OPERATORS Bet se eT
DEPARTMENT OF ENERGY
DIVISION OF OIL AND GAS API 47 . 051

STATE COUNTY PERMIT
WELL TYPE: OIL __XX_ GAS _20C LIQUID INJECTION ___ WASTE DISPOSAL __
(IF GAS) PRODUCTION _XX_ STORAGE ___ DEEP ___ SHALLOW_XX.

LOATION: ELEVATION 1308" WATER SHED LEFT FORK OF MAGGOTY RUN
DISTRICT ___LIBERTY__ COUNTY MARSHALL QUADRANGLE CAMERON

SURFACE OWNER TIMOTHY JAMES HUBBS TRUST AGREAGE 120.937
OlL & GAS ROYALTY GOSHORN RIDGE LLC LEASE AC .

PROPOSED WORK:DRILL_XX_ CONVERT ___ DRILL DEEPER __ REDRILL__
FRACTURE OR STIMULATE ___PLUG OFF OLD FORMATION __

PERFORATE NEW FORMATION __
OTHER PHYSICAL CHANGE IN WELL
PLUG AND ABANDON ___ CLEAN OUT AND REPLUG ___

TARGET FORMATION MARCELLUS SHALE ESTIMATED DEPTH 7200"

WELL OPERATOR TRAN ENERGY, ING. DESIGNATED AGENT __LOREN BAGLEY
ADDRESS 0. BOX 393 ADDRESS P.O. BOX 393
ee RYS, WV 26170 ST. MARYS, WV 2617

BWYN ALNNOD

FORM WW - 6

 

LINZSed

 

 

 
Case 5:19-cv-00223-JPB-JPM Document 26-2 Filed 02/21/20 Page 9of12 PagelD #: 141
AMENDMENT 41 TO OIL AND GAS LEASE

This Amendment #1 to Oil and Gas Lease, executed this 28° day of November, 2011, by and among Goshom Ridge, LLC, of 112 Algonquin
Trace, Wheeling, West Virginia 26003 (“Lessor”), and Trans Energy, Inc., P.O. BOX 393, St. Marys, WV 26170 (50%) and Republic Energy Ventures
LLC, 4925 Greenville Avenue, Suite 1050, Dallas, TX 75206 (50%), (collectively, “Lessee”),
WITNESSETH:

WHEREAS, Lessor executed an oil and gas lease dated November 11, 2010 (“Lease”) with a Memorandum of Oil and Gas Lease recorded in
Deed Book 723, Page 192, in the office of the Clerk of the County Commission of Marshall County, West Virginia; and

WHEREAS, paragraph number 24 of the Lease provides for, among other things, for Lessee to drilt and complete two wells by December 31,
2011.

NOW, THEREFORE, Lessor, for good and valuable consideration of the sum of $15,000.00, the receipt and sufficiency of which is hereby
acknowledged, including the mutual covenants set forth herein, Lessor and Lessee hereby agree to amend the Lease as follows:

Paragraph number 24 of the Lease reads, in part, as follows:

“ * Lessee agrees to drill and complete two wells by December 31,2011. Lessee will drill both wells back to back. Lessee hopes to drill these
welis in the first quarter of 2011 with the Panerson Rig 163 but depending on timing (of signing, permitting, coul issues, pad site building) this might be
delayed to the second or third quarter of 20) 1.”

The above original paragraph 24 is hereby replaced in its entirety by the following:

 

“* Lessee agrees to drill (or be drilling the second well) two wells by December 31, 2011. Lessee shall complete the initial two wells as soon as
reasonable practical but not later than March 31, 2012, unless otherwise extended in writing by the Lessor.”

All other terms and conditions in the original oil and gas lease dated November 11, 2010, shall remain in full force and effect untess further
amended in writing by the pasties hereto. :

WITNESS THE EXECUTION HEREOF, this 28th day of November, 2011.

Robert C. Mead Sr. Ch "
Co-Manager of Goshom Ridge, LLC Co-Manager of Goshorn Ridge, LLC

REPUBLIC ENERGY VENTURES, LLC, TRANS ENE! .
a Delaware limited liability company : a)
By: Republic Energy Operating, LLC, By: of
a Texas limited liability com Mark I. Woodbum
‘ ) j J Land Department Manager
By: loft

Mark D. Woodbgim, Its Attomey-in-Fact

  
    

 

STATE OF WEST VIRGINIA §
COUNTY OF MARSHALL = §

n the Ss day of November, 2011, by Robert C. Mead Sr., Co-Manager of Goshorn Ridge LLC.

  

NOTARY PUBLIC
STATE OF WEST VIRGINIA
CRISTI A. WOJEIK

 

My Commission Expires: Uf hi (Ab)

 

TO-WIT: This instrument was acknowledged before me on the / hy of Scorn. 2011, by Charles C. Hart, Co-Manager aliinatae
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Notary Public
My Commission Expires: —~ £5

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STATE OF WEST VIRGINIA § “ng ic ‘ST NEO
COUNTY OF PLEASANTS = § us 4 HES
This instrament was acknowledged before me on the 7 day o! , 2011, by Mark D. Woodbum, the Land Department Manager of Trans

Energy, Inc., a Nevada corporation, on behalf of such corporation and as Attomey-in-Fact for Republic Energy Ventures, LLC, a Delaware limited liability
company, on behalf of such limited liability company.

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Nétary Public 7
My Commission Expires; BoD

This document prepared by
And is to be returned to:

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Trans Energy, Inc.
P.O. Box 393
St. Marys, WV. 26170

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Case 5:19-cv-00223-JPB-JPM Document 26-2 Filed 02/21/20 Page 10 of 12 PagelD #: 142

LETTER AGREEMENT

This Letter Agreement, executed this 7 / day of March, 2013, by and among Goshorn Ridge.
LLC, of 112 Algonquin Trace, Wheeling, West Virginia 26003 (‘Lessor’), and American Shale
Development, Inc., P.O. BOX 393, St. Marys, WV 26170 (50%) and Republic Energy Ventures LLC,
4925 Greenville Avenue, Suite 1050, Dallas, TX 75206 (50%), (collectively, “Lessee”);

WITNESSETH:

WHEREAS, Lessor executed an oil and gas lease dated November 11"", 2010 (“Lease”), such
Memorandum of Oil and Gas Lease recorded at Book 723, Page 192 of the Real Property Records of
Marshall County, West Virginia;

WHEREAS, paragraph number 24 of the Lease provides for, among other things, a drilling
schedule and for Lessee to drill one well by June 30, 2013;

WHEREAS, paragraph 19 of the Lease pertains to the shut-in of a well(s);

NOW, THEREFORE, Lessor, for good and valuable consideration, the receipt and sufficiency
of which is hereby acknowledged, including the mutual covenants set forth herein, Lessor and Lessee
hereby agree as follows:

\ 1) Lessee anticipates spudding the Goshorn #3H during the month of April 2013. It is Lessee’s
present intention to drill both the Goshom #3H and Goshorn #4H back to back and then
complete both wells. This process may go past June 30, 2013 and Lessor acknowledges this
and Lessee shal] complete its work as soon as reasonable practical.

2) Due to state requirements, best industry practices, and the overall] safety and weil being of
everyone involved, Lessee will be shutting in the Goshorn #1H and Goshorn #2H during the
preparation of and the drilling of the Goshorn #3H and Goshorn #4H.

Please acknowledge your agreement and understanding below.

Sincerely yours,

REPUBLIC ENERGY VENTURES, LLC, AMERICAN SHALE DEVELOPMENT, INC,
a Delaware limited liability company
By: “Republic Energy Operating, LLC, By:

a Texas limited liability company Brett C. Greene

Vice President, Land
By:
John D. Swanson
ACHKNOWLEDGED and AGREED TO: i ee
SZ. A Poe

   

 

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Robert C. Mead Sr. Charles C. Hart
Co-Manager of Goshorn Ridge, LLC Co-Manager of Goshorn Ridge, LLC

 
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AMENDMENT NO. 2 TO OIL AND GAS LEASE

THIS AMENDMENT NO. 2 TO OIL AND GAS LEASE, executed this __ day of
October, 2013, by and between GOSHORN RIDGE LLC of 112 Algonquin Trace, Wheeling,
West Virginia 26003 (“Lessor”) and AMERICAN SHALE DEVELOPMENT, INC., P.O.
Box 393, St. Marys, West Virginia 26170 (50%) and REPUBLIC ENERGY VENTURES,
LLC, 4925 Greenville Avenue, Suite 1050, Dallas, Texas 75206 (50%) (collectively “Lessee”);

WITNESSETH:

WHEREAS, Lessor executed an Oil and Gas Lease dated November 11, 2010
(“Lease”), a memorandum of which is recorded at Book 723, Page 192 of the Real Property
Records of Marshall County, West Virginia; and

WHEREAS, the terms and provisions of said Lease have previously been amended by
Amendment No. 1 to Oil and Gas Lease executed November 28, 2011, which is recorded at
Book 754, Page 3 of the Real Property Records of Marshall County, West Virginia; and

WHEREAS, the third well drilled by Lessee pursuant to the Lease, being the Goshorn
No. 3H Well, was spud on April 2, 2013;

NOW THEREFORE, for good and valuable consideration, the receipt and sufficiency
of which are hereby acknowledged, including the mutual covenants set forth herein, Lessor and
Lessee agree as follows:

1. The drilling schedule for the drilling and completion of Well No. 3 pursuant to the
Lease as set forth in paragraph 24 of the Lease is extended beyond June 30, 2013, for so long as
Lessee continues to prosecute the drilling and completion of such well (or abandonment if it is a
dry hole) with due diligence until completion or abandonment, through fracturing and the resting
period of approximately 90 days thereafter and provided that upon completion of drilling Well
No. 3, Lessee will skid the drilling rig employed in the drilling of Well No. 3 over to promptly
commence drilling of Well No. 4.

2. Inasmuch as the two wells previously drilled on the Lease (Goshorn No. 1H and
Goshorn No. 2H) have been shut in for safety purposes and will continue to be shut in during the
drilling and during fracturing of the Goshorn No. 3H and Goshorn No. 4H Wells, Lessor and
Lessee agree that the Lease shall remain in full force and effect despite such well shut in and
consequent cessation of production for such period of time as is necessary for safety purposes or
through fracturing operation and thereafter during current or future drilling and completion
operations on the lease.

Witness the execution hereof this day of October, 2013.
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REPUBLIC ENERGY VENTURES LLC,
a Delaware limited liability company

By: REPUBLIC ENERGY OPERATING, LLC,
a Texas limited liability company

By:

 

John D. Swanson, President

AMERICAN SHALE DEVELOPMENT, INC.

By:

 

Brett C. Greene, Vice President, Land

GOSHORN RIDGE, LLC

By: MOD, fon A

Robert C. Meadg, Sr., Co-Managér—~

By:

 

Charles C. Hart, Co-Manager
